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WILLIAM K. HARRINGTON                                              Hearing Date and Time:
United States Trustee for Region 2                                 July 9, 2019 at 10:00 a.m.
U.S. Department of Justice
Office of the United States Trustee
U.S. Federal Office Building
201 Varick Street, Room 1006
New York, NY 10014
Tel. (212) 510-0500
By:     Serene Nakano
        Trial Attorney

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re                                                          :
                                                               :   Case No. 19-10307(MG)
Claudine Attzs,                                                :
                                                               :   Chapter 7
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x

                     NOTICE OF MOTION AND MOTION FOR
             (1) DISMISSAL OF CHAPTER 7 CASE, OR (2) DIRECTING
            DEBTOR TO APPEAR AT MEETING OF CREDITORS AND
        EXTENDING THE TIME TO OBJECT TO THE DEBTOR’S DISCHARGE
                      AND DISCHARGEABILITY OF DEBTS

        NOTICE IS HEREBY GIVEN that the Court has scheduled a hearing to consider the
motion of William K. Harrington, the United States Trustee pursuant to Section 707(a) of the
Bankruptcy Code, for: (1) dismissal of this Chapter 7 bankruptcy case or (2) pursuant to Rules
1017 and 4004(b) of the Federal Rules of Bankruptcy Procedure, extending the time to object to
the Debtor’s discharge and the dischargeability of the Debtor’s debts. The hearing will be
conducted by the Honorable James L. Garrity, U.S. Bankruptcy Judge, on July 9, 2019 at 10:00
a.m.. at the United States Bankruptcy Court, Alexander Hamilton Custom House, One Bowling
Green, New York, NY 10004.

        PLEASE TAKE FURTHER NOTICE that responsive papers, with proof of service,
shall be filed with the Clerk of the Court, with copies delivered directly to Judge Garrity’s
chambers, and served on the U.S. Trustee at U.S. Department of Justice, Office of the U.S.
Trustee, U.S. Federal Office Building, 201 Varick Street, Room 1006, New York, NY 10014
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(Attn.: Serene Nakano, Esq.), so as to be received at least seven days before the hearing. If the
Debtor does not appear at the hearing on this motion, the motion may be granted on default.

Dated: New York, New York
       April 11, 2019
                                                      WILLIAM K. HARRINGTON
                                                      UNITED STATES TRUSTEE


                                                      By /s/ Serene Nakano
                                                             Serene Nakano
                                                             Trial Attorney


        Upon the affirmation of Kenneth Silverman, the Chapter 7 Trustee, on file with the Court,
the U.S. Trustee hereby moves, pursuant to Section 707(a) of the Bankruptcy Code, for an order
dismissing the captioned case due to the unexcused failure of the Debtor to appear on March 5,
2019 and April 2, 2019, at the meeting of creditors mandated by Section 341(a) of the
Bankruptcy Code; or directing the Debtor to appear on _____________, 2019, at 10:00 a.m., for
the required Section 341(a) meeting of creditors, and extending the time for the Chapter 7
Trustee and the U.S. Trustee to object to the Debtor’s discharge and dischargeability of particular
debts until 60 days following the above-referenced date for the Section 341(a) meeting.


Dated: New York, New York                             WILLIAM K. HARRINGTON
       April 11, 2019                                 UNITED STATES TRUSTEE


                                                      By /s/ Serene Nakano
                                                             Serene Nakano
                                                             Trial Attorney




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